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                               THE GOODYEAR TIRE & RUBBER COMPANY
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                                                                 UNITED STATES DISTRICT COURT
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                                                                CENTRAL DISTRICT OF CALIFORNIA
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                   11
                               MICHAEL SHERLOCK, an                           Case No. 2:22-cv-426
                   12          individual,
                                                                              DEFENDANT’S NOTICE TO
                   13                                  Plaintiff,             FEDERAL COURT OF REMOVAL
                   14          v.                                             [28 U.S.C. §§ 1332, 1441, 1446]
                   15          THE GOODYEAR TIRE & RUBBER
                               COMPANY, a California Corporation              Complaint filed: December 17, 2021
                   16          and DOES 1-20, inclusive,                      (originally filed in Los Angeles County
                                                                              Superior Court)
                   17                                  Defendant.
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                       1       TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                       2       CENTRAL DISTRICT OF CALIFORNIA, PLAINTIFF AND HIS ATTORNEYS
                       3       OF RECORD:
                       4                PLEASE TAKE NOTICE that Defendant THE GOODYEAR TIRE & RUBBER
                       5       COMPANY (“Defendant” or “Goodyear”) hereby removes the above-entitled action
                       6       to this Court from the Superior Court of the State of California for the County of Los
                       7       Angeles, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446.
                       8                Defendant makes the following allegations in support of its Notice of Removal:
                       9       I.       JURISDICTION AND VENUE ARE PROPER
                   10                   1.        This action is a civil action over which this Court has original jurisdiction
                   11          based on diversity of citizenship pursuant to 28 U.S.C. § 1332(a), and is one that may
                   12          be removed by this Court by Defendant pursuant to 28 U.S.C. § 1441(b) because it is a
                   13          civil action between citizens of different states, and the amount in controversy exceeds
                   14          $75,000, exclusive of interest and costs, as set forth below. 28 U.S.C. §§ 1332, 1441(a),
                   15          1446(b).
                   16                   2.        Venue is proper in this Court pursuant to 28 U.S.C. §§ 84(c)(2), 1391,
                   17          1446.
                   18          II.      STATUS OF THE PLEADINGS
                   19                   3.        On December 17, 2021, Plaintiff Michael Sherlock (“Plaintiff”)
                   20          commenced this action by filing a complaint in the Superior Court of California, County
                   21          of Los Angeles entitled Michael Sherlock v. The Goodyear Tire & Rubber Company,
                   22          an Ohio Corporation and Does 1 to 20, designated as Case No. 21STCV46155
                   23          (“Complaint”). The Complaint alleges ten causes of action: (1) associational Disability
                   24          Discrimination; (2) failure to accommodate; (3) failure to engage in interactive process;
                   25          (4) age discrimination; (5) retaliation in violation of the FEHA; (6) failure to prevent
                   26          and/or remedy harassment; (7) interference of the California Family Rights Act; (8)
                   27          Retaliation in violation of California Family Rights Act; (9) retaliation in violation of
                   28          the Labor Code; and (10) wrongful termination in violation of public policy. (See
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                       1       Declaration of Sarah E. Ross in Support of Defendant’s Notice to Federal Court of
                       2       Removal (“Ross Decl.”) ¶ 2; Exhibit (“Exh.”) A.)
                       3                4.        On December 17, 2021, the Court Clerk issued a Notice of Case
                       4       Assignment – Unlimited Civil Case. (Ross Decl. ¶ 3, Exh. B.) On December 21, 2021,
                       5       Goodyear’s agent for service of process was served with Plaintiff’s Complaint along
                       6       with the Summons, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum and
                       7       Statement of Location, First Amended General Order, Notice of Case Assignment –
                       8       Unlimited Civil Case, Alternative Dispute Resolution (ADR) Information Package, and
                       9       Voluntary Efficient Litigation Stipulations. (Ross Decl. ¶ 4, Exh. C.)
                   10                   5.        On December 28, 2021, the Court filed a Notice of Case Management
                   11          Conference and an Order to Show Cause Re Failure to File a Proof of Service. (Ross
                   12          Decl. ¶ 6, Exh. D.)
                   13                   6.        On January 19, 2022, Defendants filed its Answer to Plaintiff’s Complaint
                   14          in State Court. (Ross Decl. ¶ 7, Exh. E.)
                   15                   7.        To Defendant’s knowledge, the documents attached to the Declaration of
                   16          Sarah E. Ross constitute all process, pleadings, and orders served upon Defendant or
                   17          filed in the State Court action by Defendant. (Ross Decl. ¶ 8, Exh. F.)
                   18          III.     TIMELINESS OF REMOVAL AND NOTICE
                   19                   8.        This Notice of Removal is timely in that it has been filed within thirty (30)
                   20          days of service upon Defendant of the Summons and Complaint on December 21, 2021,
                   21          and within one year of the filing of the Complaint on December 17, 2021. See 28 U.S.C.
                   22          § 1446(b).
                   23          IV.      COMPLETE DIVERSITY OF CITIZENSHIP EXISTS
                   24                   9.        The Court has jurisdiction over this action because complete diversity of
                   25          citizenship between citizens of different states exists and the matter in controversy
                   26          exceeds the sum of $75,000, exclusive of interests and costs. 28 U.S.C. § 1332(a).
                   27                   10.       For purposes of removal, the citizenship of doe defendants is disregarded
                   28          and only named defendants are considered. 28 U.S.C. § 1441(b)(1); see Newcombe v.
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                       1       Adolf Coors Co., 157 F.3d 686 (9th Cir. 1998). Therefore, the defendants designated
                       2       as DOES 1 through 20 are fictitious defendants, are not parties to this action, have not
                       3       been served, and are to be disregarded for purposes of this removal. 28 U.S.C. §
                       4       1441(a), (b).
                       5                A.        Plaintiff Is A Citizen of California
                       6                11.       To establish citizenship for diversity purposes, a natural person must be a
                       7       citizen of the United States and be domiciled in a particular state. Bank of N.Y. Mellon
                       8       v. Nersesian, No. CV13-2604PA(Ex), 2013 WL 8284799, at *3 (C.D. Cal. Apr. 16,
                       9       2013) (citing Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983)).
                   10          Persons are domiciled in the places they reside with the intent to remain or to which
                   11          they intend to return. Id. at *3. Residence is prima facie evidence of one’s domicile.
                   12          Sadeh v. Safeco Ins. Co., No. CV12-03117SJO(PLAx), 2012 WL 10759737, at *2 (C.D.
                   13          Cal. June 12, 2012) (citing State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520
                   14          (10th Cir. 1994)).
                   15                   12.       Plaintiff’s last known address when he was employed with Defendants was
                   16          4620 Falkirk Bay, Oxnard, California 93035. (See Declaration of Theresa Messick in
                   17          Support of Defendant’s Notice to Federal Court of Removal (“Messick Decl.”) ¶ 4.)
                   18          Additionally, according to public utility records search, the latest going up to November
                   19          of 2021, plaintiff continues to reside at 4620 Falkirk Bay, Oxnard, California 93035.
                   20          (Id.) Plaintiff is therefore a citizen of California for purposes of the instant jurisdictional
                   21          analysis. See Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001).
                   22                   B.        Goodyear Is Not a Citizen of California
                   23                   13.       In determining diversity jurisdiction, “a corporation shall be deemed to be
                   24          a citizen of every State [] by which it has been incorporated and of the State [] where it
                   25          has its principal place of business.” 28 U.S.C. § 1332(c)(1).
                   26                   14.       Goodyear was, at the time of the filing of this action, and still is, a citizen
                   27          of the State of Ohio. Goodyear was, and continues to be, a corporation incorporated
                   28          under the laws of the State of Ohio. (See Messick Decl. ¶ 3).
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                       1                15.       To determine a corporation’s principal place of business, the courts apply
                       2       the “nerve center test,” which deems the principal place of business to be the state
                       3       “where a corporation’s officers direct, control, and coordinate the corporation’s
                       4       activities.” Hertz Corp. v. Friend, 559 U.S. 77, 92 (2010). In practice, the principal
                       5       place of business is “where the corporation maintains its headquarters.” Id. Goodyear’s
                       6       headquarters are located in Akron, Ohio. (Messick Decl. ¶ 3.) Accordingly, Goodyear
                       7       was at the time of the filing of this action, and still is, a citizen of the State of Ohio
                       8       because it is a corporation incorporated under the laws of the State of Ohio and has its
                       9       principal place of business in Akron, Ohio.
                   10          V.       THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
                   11                   16.       While Plaintiff’s Complaint does not specify the amount that he seeks to
                   12          recover from Defendant in this action, it does state the amount in controversy exceeds
                   13          $25,000. (See Complaint ¶ 11). Where removal is based on diversity of citizenship and
                   14          the initial pleading seeks a money judgment but does not demand a specific sum, “the
                   15          notice of removal may assert the amount in controversy,” 28 U.S.C. § 1446(c)(2), and
                   16          a removing defendant “need include only a plausible allegation that the amount in
                   17          controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co.
                   18          v. Owens, 135 S. Ct. 547, 554 (2014). Here, the Complaint does not indicate a total
                   19          amount of damages claimed; consequently, Goodyear only needs to show by a
                   20          preponderance of the evidence (that it is more probable than not) that Plaintiff’s claimed
                   21          damages exceed the jurisdictional minimum. Sanchez v. Monumental Life Ins. Co., 95
                   22          F.3d 856, 862 (9th Cir. 1996).
                   23                   17.       In measuring the amount in controversy, the Court must assume that the
                   24          allegations of the complaint are true and that a jury will return a verdict in favor of the
                   25          plaintiff on all claims asserted in his complaint. Kenneth Rothschild Trust v. Morgan
                   26          Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The ultimate inquiry
                   27          is the amount that is put “in controversy” by the plaintiff’s complaint, and not how
                   28          much, if anything, the defendant will actually owe. Rippee v. Boston Market Corp., 408
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                       1       F. Supp. 2d 982, 986 (S.D. Cal. 2005). In determining the amount in controversy, the
                       2       Court may consider damages awards in similar cases. Kroske v. U.S. Bank Corp., 432
                       3       F.3d 976, 980 (9th Cir. 2005).
                       4                18.       Here, Plaintiff’s Complaint alleges ten various claims for discrimination,
                       5       failure to accommodate, failure to engage in the interactive process, retaliation,
                       6       interference, failure to investigate and prevent and wrongful termination.              (See
                       7       Complaint.) Although Goodyear denies the validity and merit of Plaintiff’s claims and
                       8       the underlying allegations, and further denies that Plaintiff is entitled to any relief,
                       9       Plaintiff’s allegations establish an amount in controversy in excess of the jurisdictional
                   10          minimum of $75,000, exclusive of interest and costs, as set forth below:
                   11                   19.       Should Plaintiff prevail on his claims, he potentially could recover lost
                   12          wages and benefits through the date of trial, as alleged in his Complaint. At the end of
                   13          Plaintiff’s employment with Goodyear, he was paid at the rate of $5,067.66 per pay
                   14          period, which was twice a month (Salary of $121,623.81 over 24 pay periods).
                   15          (Messick Decl. ¶ 5). His employment was terminated on May 4, 2020. (Complaint ¶
                   16          25.)      If Plaintiff were to recover back wages from May 4, 2020 to the present
                   17          (approximately 41 pay periods) he potentially could recover approximately
                   18          $207,774.10 ($5,067.66 /pay period x 41 pay periods). Moreover, if the case proceeds
                   19          to trial by the end of December 2022—approximately one year from when Goodyear
                   20          was served with the Complaint—and Plaintiff remains unemployed, the amount in
                   21          controversy on lost wages would be a total of approximately additional 22.5 pay
                   22          periods, or roughly $321,796.40 in total ($5,067.66 /pay period x 63.5 pay periods).
                   23          See James v. Childtime Childcare, Inc., No. S-06-2676, 2007 WL 1589543, *2 n.1 (E.D.
                   24          Cal., June 1, 2007) (“The court evaluates the amount in controversy at the time of
                   25          removal, but it may consider both past and future lost wages.”).
                   26                   20.       In addition, front pay awards in California frequently span a number of
                   27          years. See Rabaga-Alvarez v. Dart Indus., Inc., 55 Cal. App. 3d 91, 97 (1976) (four
                   28          years); Drzewiecki v. H&R Block, Inc., 24 Cal. App. 3d 695, 705 (1972) (ten years).
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                       1       Even conservatively estimating that Plaintiff seeks front pay benefits for only the three
                       2       years after trial, the amount of future wages in controversy in this case would total at
                       3       least an additional $364,852.50 ($5,067.66 /pay period x 24 pay periods/year x 3 years).
                       4       Thus, if this case goes to trial in December 2022, it may reasonably be estimated that
                       5       Plaintiff’s claims of back pay and front pay would alone total an estimated $686,667.90.
                       6                21.       Plaintiff also alleges emotional distress and punitive damages. (Complaint
                       7       ¶¶ 33, 40, 44, 48, 52, 59, 65, 71, 78, 83, and Prayer for Relief at ¶¶ 2 and 4.) Plaintiff’s
                       8       potential recovery of such damages further augments the foregoing amounts and
                       9       demonstrates that the jurisdictional prerequisite for removal of this action is met. See
                   10          Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001) (holding that emotional
                   11          distress damages are included in determining amount in controversy). These categories
                   12          of damages must be considered when calculating the amount in controversy even if no
                   13          such damages are clearly pled in the complaint. See Simmons v. PCR Tech., 209 F.
                   14          Supp. 2d 1029, 1034 (N.D. Cal. 2002); Coleman v. Assurant, Inc., 463 F. Supp. 2d
                   15          1164, 1168 (D. Nev. 2006) (“It is well established that punitive damages are part of the
                   16          amount in controversy in a civil action.”) (citing Gibson, 261 F. 3d at 945); Richmond
                   17          v. All State Ins., 897 F. Supp. 447, 449-50 (S.D. Cal. 1995) (general and special
                   18          damages included in the amount in controversy).
                   19                   22.       Although Defendant disputes that Plaintiff is entitled to any such award,
                   20          plaintiffs in employment cases have been awarded substantial sums for emotional
                   21          distress.        See, e.g., Flores v. Office Depot Inc., BC556173, 2017 WL 773850
                   22          (Cal. Super. Feb. 6, 2017) (awarding $1.064 million in pain and suffering damages);
                   23          Gardenhire v. Hous. Auth. of Los Angeles, 85 Cal. App. 4th 236, 240-241 (2002)
                   24          (affirming judgment, including jury award of $1.3 million in emotional distress
                   25          damages for wrongful termination in violation of public policy claim).
                   26                   23.       Likewise, plaintiffs in employment cases have been awarded substantial
                   27          punitive damages. Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1034 (N.D. Cal.
                   28          2002). California law does not provide any specific monetary limit on the amount of
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                       1       punitive damages that may be awarded under Civil Code section 3294. Boyle v.
                       2       Lorimar Productions, Inc., 13 F.3d 1357, 1360 (9th Cir. 1994). Indeed, punitive
                       3       damage awards have equaled as much as four times the amount of the actual damages
                       4       award. State Farm Mutual Auto Ins. Co. v. Campbell, 538 U.S. 408, 425 (2003).
                       5                24.       Lastly, Plaintiff seeks attorneys’ fees. Attorneys’ fees that are potentially
                       6       recoverable by statute also are included in determining the amount in controversy. Galt
                       7       G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998). In actions brought
                       8       under the FEHA, the court, in its discretion, may award to the prevailing party
                       9       reasonable attorneys’ fees. CAL. GOV’T CODE § 12965(b).
                   10                   25.       Any estimate of attorneys’ fees includes fees over the life of the case, not
                   11          just the fees incurred at the time of removal. Id. “Recent estimates for the number of
                   12          hours expended through trial for employment cases in [the Central District of
                   13          California] have ranged from 100 to 300 hours. Therefore, 100 hours is an appropriate
                   14          and conservative estimate.              Accordingly, attorneys’ fees in [an employment
                   15          discrimination case alleging wrongful termination] may reasonably be expected to
                   16          equal at least $30,000 (100 hours x $300 per hour).” Sasso v. Noble Utah Long Beach,
                   17          LLC, No. CV14-09154-AB(AJWx), 2015 WL 898468, at *6 (C.D. Cal. Mar. 3, 2015)
                   18          (emphasis added). Thus, Plaintiff’s demand for attorneys’ fees adds, at minimum,
                   19          $30,000 to the amount in controversy, which is a very conservative estimate. See e.g.,
                   20          Flannery v. Prentice, 26 Cal. 4th 572 (2001) (upholding an award of attorneys’ fees
                   21          under the FEHA for $971,684); Dwyer v. Crocker Nat’l Bank, 194 Cal. App. 3d 1418
                   22          (1987) (upholding award of $75,258 in attorneys’ fees under the FEHA); Zissu v. Bear,
                   23          Stearns & Co., 805 F.2d 75 (1986) (upholding $550,000 in attorneys’ fees awarded
                   24          under the FEHA); Begazo v Passages Silver Strand L.L.C., JVR No. 1706020057 (Cal.
                   25          Super. 2017) (court awarding $375,568 in attorneys’ fees in FEHA action).
                   26                   26.       In sum, although Defendant does not concede Plaintiff’s claims have any
                   27          merit, when the relief sought by Plaintiff is taken as a whole, the amount in controversy
                   28          for Plaintiff’s claims significantly exceeds the $75,000 jurisdictional threshold. Thus,
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                       1       this Court has original jurisdiction over the claims asserted by Plaintiff in this action
                       2       based on diversity of citizenship jurisdiction under 28 U.S.C. §§ 1332(a)(1) and
                       3       1441(a).
                       4       VI.      NOTICE TO THE COURT AND PARTIES
                       5                27.       Contemporaneously with the filing of this notice of removal in the United
                       6       States District Court for the Central District of California, written notice of such filing
                       7       will be given by the undersigned to Plaintiff’s counsel of record and a copy of the notice
                       8       of removal will be filed with the clerk of the court for the Superior Court of the County
                       9       of Los Angeles.
                   10
                               Dated: January 20, 2021
                   11
                   12                                                          /s/ Sarah E. Ross
                                                                               SARAH E. ROSS
                   13                                                          DEVON S. MILLS
                                                                               LITTLER MENDELSON, P.C.
                   14                                                          Attorney for Defendant
                                                                               THE GOODYEAR TIRE & RUBBER
                   15                                                          COMPANY
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